                      Case 1:21-cv-02900-CJN Document 29 Filed 07/18/22 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                    District
                                              __________     of Columbia
                                                          District of __________


               Smartmatic USA Corp., et al.                    )
                             Plaintiff                         )
                                v.                             )      Case No.     21-cv-02900-CJN
                   Herring Networks, Inc.                      )
                            Defendant                          )

                                               APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Smartmatic USA Corp., Smartmatic International Holding B.V., and SGO Corporation Limited                      .


Date:          07/18/2022                                                               /s/ Michael E. Bloom
                                                                                          Attorney’s signature


                                                                                 Michael E. Bloom (Illinois 6302422)
                                                                                      Printed name and bar number
                                                                           Benesch, Friedlander, Coplan & Aronoff LLP
                                                                                71 S. Wacker Drive, Suite 1600
                                                                                     Chicago, Illinois 60606

                                                                                                Address

                                                                                     mbloom@beneschlaw.com
                                                                                            E-mail address

                                                                                           (312) 212-4949
                                                                                           Telephone number

                                                                                           (312) 767-9192
                                                                                             FAX number
